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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ATAIN INSURANCE COMPANY
220 Kaufman Financial Center
30833 Northwestern Highway
Farmington, MI 48334
                                                 Civil Action No.: 21-3651
                       Plaintiff,
        vs.

 KAZ TIRE, INC. (trading as KAZ TIRE
 CENTER, INC., an unregistered fictitious
 name)
 2400 E. Somerset Street
 Philadelphia, PA 19134
        and
 KAZEEM NABAVI (trading as KAZ TIRE
 CENTER, a registered fictitious name)
 2400 E. Somerset Street
 Philadelphia, PA 19134

                       Defendants.

                          ATAIN INSURANCE COMPANY’S
                         MOTION FOR SUMMARY JUDGMENT

       Plaintiff Atain Insurance Company (“Atain”), by and through its attorneys, Kaufman

Dolowich & Voluck, LLP, respectfully moves this Court pursuant to Federal Rule of Civil

Procedure 56(c) to enter summary judgment in its favor and against Kaz Tire, Inc. and Kazeem

Nabavi (“Kaz Tire”). In support of its Motion, Atain fully incorporates by reference its Motion,

Statement of Undisputed Facts, Joint Appendix, Exhibits, and all prior pleadings.

       This is a federal diversity jurisdiction case involving an insurance coverage dispute

between Atain and its insured Kaz Tire under a commercial general liability (“CGL”) insurance

policy bearing number CIP320964 for a policy period of October 21, 2018 to October 21, 2019

with commercial general liability limits of $1,000,000 per occurrence and an aggregate limit of

$2,000,000 for Products/Completed Operations. (“Policy”). (See Ex. 1, Bates Nos. 1-97.) In this
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lawsuit, Atain seeks a declaration that no insurance coverage is afforded to Kaz Tire with respect

to an underlying lawsuit filed by Benjamin Allen (“Underlying Plaintiff”) and his wife, Margaret

Christoforo, in the Philadelphia County Court of Common Pleas under Docket Number 210501480

(“Underlying Lawsuit”), wherein Underlying Plaintiff filed a First Amended Complaint on June

30, 2021 (“Underlying Complaint”). (See Ex. 2, Bates Nos. 98-131.)

        Coverage for the Underlying Lawsuit is excluded under the Policy by operation of the

Designated Products Exclusion, which states:

               This insurance does not apply to “bodily injury” or “property
               damage” included in the “products-completed operations hazard”
               and arising out of any of “your products” shown in the Schedule.

(Ex. 1 Policy Form CG 21 33 11 85, Bates No. 092.) When all defined terms from the Policy are

incorporated into the Designated Products Exclusion, it states:

               This insurance does not apply to “bodily injury” [“occurring away
               from your premises . . . and arising out of”] [“any used . . . tires”]
               [“handled by you.”]

(Id.)

        The Policy defines “your product” as “[a]ny goods or products . . . handled . . . by . . . you.”

(Ex. 1 at Bates No. 088.) The Schedule identifies the excluded Designated Products as “any used

or recapped or retreaded tires.” (Ex. 1 Policy Form CG 21 33 11 85, Bates No. 092.) There is no

dispute that the tire was a “used tire.” (See id., Bates No. 109-10, ¶¶ 42-44.) Further, there is no

dispute that Underlying Plaintiff was injured at his employer’s premises, away from Kaz Tire’s

premises. (See id., Bates No. 103-4, 110, ¶¶ 5, 45.)

        In the Underlying Complaint, it is alleged that Kaz Tire “improperly repaired the tire and

split rim wheel assembly involved in [Underlying] [P]laintiff’s accident. Specifically, Kaz Tire

mounted the pneumatic innertube so that the inflation valve for the innertube faced the rear

(chassis) side of the split rim wheel assembly.” (Ex. 2, Bates No. 119, ¶ 95.) The Underlying

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Complaint alleges that Kaz Tire’s negligence consisted of, in part, “failing to inspect the tire and

split rim wheel assembly to confirm that the tire and pneumatic innertube were properly mounted

to the wheel assembly.” (Id., Bates No. 120, ¶ 101(f).) The Underlying Complaint further alleges

that Underlying Plaintiff sustained his injury as “a direct and proximate result” of Kaz Tire’s

negligence. (Id. , Bates No. 121, ¶ 100.) Further, there is a “but for” causal relationship between

Underlying Plaintiff’s injury and the used tire because the Underlying Complaint alleges how the

explosion occurred:

                The principal hazard involved with a split rim wheel assembly is
                pressurized air which, once released, can cause the wheel
                components to separate with violent force, propelling the
                components across the workplace and into a worker. The severity
                of the hazard is related not only to the air pressure but also to the air
                volume.

(Ex. 2, Bates No. 108, ¶ 35.) Accordingly, the Underlying Lawsuit alleges “bodily injury” to

Underlying Plaintiff that occurred “away from [Kaz Tire’s] premises,” “arising out of” a “used

tire” that was “handled by [Kaz Tire].” As such, the plain reading of the Designated Products

Exclusion precludes coverage under the Policy for the Underlying Lawsuit.

        This Court determined, as a matter of law, that the Designated Products Exclusion “is not

ambiguous,” and “the exclusion bars coverage.” Webb v. Oak Leaf Outdoors, Inc., No. CIV.A.

11-2456, 2015 WL 1400649, at *4 (E.D. Pa. Mar. 27, 2015) (Rufe, J.) (applying Designated

Products Exclusion to bar coverage for underlying lawsuit alleging insured was negligent in failing

to recall a tree stand under Illinois law). Despite this, it is anticipated that Kaz Tire will argue that

the Designated Products Exclusion does not apply to the service of repairing the tire, relying on

Harford Mut. Ins. Co. v. Moorhead, 578 A.2d 492 (Pa. Super. Ct. 1990) and Friestad v. Travelers

Indem. Co., 393 A.2d 1212 (Pa. Super. Ct. 1978).




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       Neither Moorhead nor Friestad apply or prevent application of the Designated Products

Exclusion. Both Moorhead and Friestad interpreted a broad and not narrowly tailored “products

hazard” exclusion, as opposed to the narrowly tailored and specific Atain Designated Products

Exclusion. Moorhead did not consider the policy definition of “Your Product” or “products-

completed operations hazard” contained in the Atain Policy, nor did it involve a designated

products exclusion. Unlike the Atain Policy, the policy at issue in Moorhead did not include any

distinction about “handling” of a product, and therefore, Moorhead narrowly applies only in the

products liability context.

       Both Moorhead and Friestad found ambiguity in the exclusions those courts interpreted,

and as a result, the foundations of those opinions rests upon reasonable expectations assessments

and determinations that the broad products exclusions rendered coverage under the policies

illusory. For example, Friestad interpreted a broad products exclusion that, if applied, would have

precluded coverage for an insured water heater installer each time a claim arose from the insured

installing or servicing a water heater. Here, Kaz Tire was not provided illusory coverage. Indeed,

the Atain Policy is not limited in application by the Designated Products Exclusion for myriad

liability claims arising from third parties injured upon the insured premises, e.g., slip and fall.

Further, the Designated Products Exclusion does not apply to any sale or service by Kaz Tire

related to new tires. Indeed, the Designated Products Exclusion is narrowly tailored to “used tires”

only. In doing so, the Atain Policy comports with the Moorhead directive that “the insurance

company providing coverage should take extra care to assure that the policy leaves no room for

question, at peril of being forced to pay for greater coverage than anticipated.” Moorhead, 578

A.2d at 502.




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       Finally, the reasonable expectations of Kaz Tire should not be considered because the

Court already determined the Designated Products Exclusion to be clear and unambiguous in Oak

Leaf. “[A]n insured may not complain that his or her reasonable expectations were frustrated by

policy limitations which are clear and unambiguous.” Northern Ins. Co. of New York v. Dottery,

43 F. Supp. 2d 509, 512 (E.D. Pa. 1998). Further, assessing the reasonable expectations of

commercial insureds is not favored within the Third Circuit, and only non-commercial insureds’

reasonable expectations may be assessed when policy terms “are not readily apparent” or where

there is “deception by insurance agents” with respect to policy provisions. See Canal Ins. Co. v.

Underwriters at Lloyd’s London, 435 F.3d 431, 440 (3d Cir. 2006). Neither scenario is present in

this matter.

       The pleadings and discovery are closed, and all relevant facts demonstrate that Atain is

entitled to summary judgment and a declaration that it is not required to defend or indemnify Kaz

Tire in the Underlying Lawsuit as a matter of law.

                                     Respectfully submitted this 25th day of October 2021,

                                     KAUFMAN DOLOWICH & VOLUCK, LLP



                                     _____________________________________
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